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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                    : ORDER
2020 Demonstrations                                              20 Civ. 8924 (CM) (GWG)
                                                               :
---------------------------------------------------------------X
GABRIEL W. GORENSTEIN, United States Magistrate Judge

        With respect to the application made in Docket # 374, defendants’ objections to Requests
79 and 94 of the plaintiffs’ Second Consolidated Set of Requests for Production of Documents
are overruled except as pertains to privilege, and the City is hereby ordered to produce the
following, on or before March 3, 2022: (1) all documents concerning Edward Mullins’
circulation of a racist video in August 2019, including any investigations into this action and any
discipline or recommendations of discipline that were made; and (2) all documents concerning
the February 2021 CCRB substantiation of three complaints against Mullins for offensive
language and abuse of authority.

      With regard to Plaintiffs’ Supplemental Set of Interrogatories and Request for the
Production of Documents (“Second Requests”) and Plaintiffs’ Third Supplemental Set of
Interrogatories and Request for the Production of Documents (“Third Requests”) (raised in
Docket # 370), Defendants’ objections as to Plaintiffs’ Second Requests are hereby overruled
except for those relating to privilege. Defendants shall answer the interrogatories and respond to
Plaintiffs’ Second Requests by March 3, 2022. Similarly, Defendants’ objections to the Third
Requests other than to privilege are overruled and Defendants shall answer Interrogatories 18,
19, and 20, and respond to Requests Nos. 1-7 and 10-11 by March 3, 2022. Additionally,
Defendants shall produce all documents and videos that are responsive to Plaintiffs’ Second and
Third Requests by March 3, 2022.

        To the extent that defendants decline to produce or respond to any of plaintiffs’ requests
on the basis of privilege, defendants must submit to plaintiffs a privilege log by March 10, 2022.

        If defendants contend that the deadline for production as to any category is impossible to
meet, they shall produce all available documents on that date and must make an application to
the Court by March 3, 2022, for an extension of the deadline, which shall include a sworn
statement from an individual with personal knowledge of all efforts made to respond to the
request, including dates such efforts were begun, and describing in detail the impediments that
prevented compliance with the Court’s deadline. Plaintiffs may respond to any such application
within two business days.
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      SO ORDERED.

Dated: February 18, 2022
       New York, New York
